










Opinion issued February 23, 2006














In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00951-CR
____________

TIMOTHY PIERCE, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from County Criminal Court at Law No. 9  
Harris County, Texas
Trial Court Cause No. 1293116



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On February  9, 2006, appellant  filed a motion to dismiss the above-referenced
appeal.  The motion complies with the Texas Rules of Appellate Procedure.  See Tex.
R. App. P. 42.2(a).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We have not yet issued a decision.  Accordingly, the motion is granted and the
appeal is dismissed. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Any pending motions are denied as moot.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Clerk of this Court is directed to issue the mandate.  Tex. R. App. P. 18.1.

PER CURIAM

Panel consists of Chief Justice Radack, and Justices Jennings and Alcala

Do not publish.  Tex. R. App. P. 47.2(b).


